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                                                                                                FILED
                                                                                           IN OPEN COURT


                       IN THE UNITED STATES DISTRICT COURT FOR THE
                               EASTERN DISTRICT OF VIRGINIA                                SEP 3 0 2024

                                        Newport News Division                        CLERK, U.S. DIS (RICT COURT
                                                                                            NORFOl K VA
   UNITED STATES OF AMERICA,

          V.                                        Criminal No. 4:23-cr-94-3


   JOHNNY RAY RIDDICK, JR.,
       a/k/a “GIo,”

          Defendant.



                                      STATEMENT OF FACTS


          The United States and the defendant, Johnny Ray Riddick, Jr. (a/k/a ”Glo”) (hereinafter

   “Riddick” or “the defendant”), agree that, if this matter had proceeded to trial, the United States

   would have proven the following facts beyond a reasonable doubt with admissible and credible

   evidence:


          1.      Beginning on a date unknown to the grand jury, but at least on or about July 6,

   2023, in the Eastern District of Virginia and elsewhere, the defendant, Riddick, and co-defendant

   Andre Ephraim Billups, Jr., (a/k/a ‘‘Dre”), aided, abetted, counseled, commanded, induced, and

   procured by each other and others known and unknown to the Grand Jury, did:

                  a.
                          knowingly and willfully combine, conspire, confederate, and agree with

   each other, unlawfully to obstruct, delay, and affect, and attempt to obstruct, delay, and affect,

   commerce, and the movement of aiticles and commodities in commerce, by robbery, as those terms

   are defined in 18 U.S.C. § 1951, by the unlawful taking and obtaining of business property from

   the person and in presence of a victim employee of the victim business, the United States Postal

   Service (“USPS” or “Postal Service”); and
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                   b.      knowingly use and carry a firearm during and in relation to, and possess a

   firearm in furtherance of, a crime of violence for which they may be prosecuted in a court of the

   United States, specifically the crimes of Interference with Interstate and Foreign Commerce by

   Robbery, in violation of 18 U.S.C. §§ 1951(a) and (2), and Assault of a Federal Employee with

   Dangerous Weapon, in violation of 18 U.S.C. §§111 (b) and (2), as set forth respectively in Counts

   Five and Six of the Superseding Indictment.

           2.      Co-defendant Alexis Sierra West (a/k/a *‘Lex’’), knowing that such offense had been

   committed against the United States by Billups and Riddick, thereafter intentionally received,

   relieved, comforted, or assisted Billups and Riddick in order to hinder and prevent that person's

   apprehension, trial, or punishment for their crimes, to wit; violations of 18 U.S.C. §§ 1704 and 2

   (Unlawful Possession of Postal Keys); §§ 1708 and 2 (Theft & Attempted Theft of U.S. Mail);

   §§ 1951(a) and 2 (Conspiracy to Interfere with Commerce by Robbery and Interference with

   Commerce by Robbery); §§ 111(b) and 2 (Assault of a Federal Employee with a Dangerous

   Weapon); and §§ 924(c) and 2 (Use, Carry, and Brandish a Firearm During and in Relation to, and

   Possess a Firearm in Furtherance of, a Crime of Violence); all as charged in Counts One through

   Seven of the Superseding Indictment, respectively.

           3.     At all times relevant to the Indictment and Superseding Indictment in this case, the

   victim business, the USPS, was an independent federal agency headquartered in Washington, D.C.,

   with a universal service obligation to provide postal service in all areas and communities of the

   United States. The USPS has the largest retail network in the United States and is the largest postal

   service in the world.


          4.      As the USPS has continued to harden its blue collection box inventory across the


   country against traditional fishing-related mail theft over the past few years, there has been a




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   corresponding rise in the theft of “arrow keys,” the master keys used to access the variety of mail

   repositories, including blue collection boxes, outdoor parcel lockers, and apartment mailbox

   panels. Such keys are worth thousands of dollars on the black market, as criminals like the co¬

   defendants Billups, Riddick, West, and Gary use them to steal mail in the furtherance of other

   lucrative criminal schemes, like check fraud and identity theft.

           5.     The U.S. Mail is a vital part of interstate and foreign commerce, as individuals and

   businesses use it, for example, to send currency or equivalents; to send contracts or receipts; and

   to ship and send items purchased in interstate commerce. In addition, these arrow key thefts both

   actually result in, and always carry with them the natural and ordinary consequence of, obstructing,

   delaying, or affecting interstate and foreign commerce, with effects ranging from delays due to the

   carriers being interrupted to major disruptions stemming from lost or stolen mail or the abuse of a

   mail theft victim’s identity or financial accounts. That actual disruption and threat thereof was true

   of all arrow key thefts at all times relevant to the Amended Indictment and Criminal Information.

          6.      A given arrow key is limited by specified geographic restrictions, and the keys are

   distributed through authorized USPS channels only to authorized personnel (e.g. mail carriers) and

   used in the performance of official duties as generally defined within the meaning of 39 U.S.C.

   § 403. Due to the wide-ranging access and related value of the keys, their possession, use, and

   transfer is highly regulated. Thus criminals seek access to them through illicit means, whether by

   stealing them directly from postal workers through actual or threatened violence, by enlisting

   postal employee co-conspirators in schemes whereby the criminals unlawfully “lease” the arrow

   keys, or by purchasing the keys in criminal marketplaces like the Dark Web.




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                                           The July 6 Robbery

           7.     On or about July 6, 2023, Billups and Riddick robbed a USPS carrier in the area of

   Jefferson Point in Newport News, in the Eastern District of Virginia, with Billups acting as the

   gunman and Riddick serving as the getaway driver. Billups and Riddick were very familiar with

   that area, as Billups’s best friend and Riddick’s romantic partner. West, lived in that apartment

   complex with her roommate H.D. and allowed her apartment to be used as a gathering place for

   their group of friends from Gloucester. Before they actually committed the robbery, Riddick and

   Billups discussed their need for arrow keys and different ways to obtain them.

          8.      On July 6, 2023, shortly before the robbery, Billups contacted West and asked her

   to wake Riddick, who was staying with her. Billups spoke with Riddick, and Riddick dressed

   quickly and left the apartment.

          9.      Both Riddick and Billups habitually carried firearms on or about their persons and

   frequently discussed firearms. During that robbery, Billups was armed with a firearm. He first tried

   to grab the arrow key from the carrier, but when she resisted, indicated to her that he was armed

   in order to coerce her into producing and turning over her arrow key. After Billups obtained the

   arrow key from the carrier, he fled on foot towards the location where his co-conspirator Riddick

   was waiting for him.

           10.    Billups was being chased by a maintenance man for the apartment complex, so he

   ran into the girls’ apartment - despite its appearing to have a closed patio door - rather than es

   caping directly around the building just to his side. When he arrived at the apartment, he knocked

   on the patio door with the gun and was allowed to enter. Billups left the key in the apartment, and

   West contacted Riddick to ask what to do with it. He directed her to hide it, which she did within




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    her closet in her bedroom. Later, West lied extensively to law enforcement about her knowledge

   of the robber and robbery.

           11.    During his flight, Billups was heard communicating with Riddick via his

   smartphone, during which conversation Riddick chastised him for running through the girls’ apart¬

   ment. Thereafter, Billups exited the apartment and ran to where Riddick was waiting in Riddick’s

   car, which had a loud and distinctive exhaust. Riddick’s car had been present in the complex before

   the robbery but was no longer there after the robbery.

           12.    West and H.D. later met up with Riddick to turn over the key and a backpack

   Billups had left. Atthat meeting-where Billups was waiting nearby in Riddick’s vehicle-Riddick

   reset the girls’ cellphones to wipe them because he was worried about a potential law enforcement

   investigation. Billups separately wiped his own cellphone.

                         The December 4 Hidenwood Collection Box Break-In

           13.    Rather than immediately sell the key, Billups and Riddick, aided and abetted by

   others, including co-defendant Gary, repeatedly used it to break into USPS collection boxes in the

   area to steal U.S. mail, all in furtherance of their conspiracy to defraud banks and credit unions.

           14.    At no time relevant to the indictment did Billups, Riddick, or West have lawful

   authority or permission to possess or use any key suited to any lock adopted by the USPS and in

   use on any of the mails or bags thereof, such as the Jefferson Point arrow key.

           15.    Due to numerous customer complaints of mail theft from blue collection boxes in

   the Tidewater area after the armed robberies of letter carriers in Hampton and Newport News in


   2023, the USPIS began surveilling various blue collection boxes in the area, including targeted

   surveillance operations beginning on or about the evening of December 3, 2023, at collection

   boxes that were particularly hard hit by such break-ins.




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           16.    Specifically, on or about December 3, 2023, law enforcement officers including

   United States Postal Inspection Service (USPIS) Postal Inspectors, the Bureau of Alcohol, To¬

   bacco, Firearms, and Explosives (ATF) special agents and task force officers, and Newport News

   Police Department officers conducted a surveillance operation at the Hidenwood Post Office on

   Hiden Boulevard in Newport News, Virginia. As part of that operation, a camera was positioned

   to observe the blue collection boxes associated with that Post Office.


           17.    Late on the 3rd and into the early hours of the 4th, Billups drove a white Chevrolet

   Cruze registered to his romantic partner H.B. (the “Cruze”) and picked up Gary in Gloucester.

   Thereafter, Gary agreed to drive the Cruze, despite knowing that Billups intended to use the stolen

   Jefferson Point arrow key to break into an authorized depository of mail matter (the Hidenwood

   collection box and other collection boxes) again and to steal mail therefrom.

           18.    Gary also became aware that Billups was armed with a handgun and an AK-style

   rifle, specifically a Century Arms VSKA 7.62 rifle bearing serial number SV7063210 that Billups

   had bought the week after his nineteenth birthday. Nevertheless, Gary drove them to the Hiden¬

   wood Post Office, where Billups exited the vehicle and used the stolen Jefferson Point arrow key

   to open the box. As he was going through it, a USPIS Inspector exited her vehicle, approached the

   suspect vehicle, and attempted stop it via verbal commands. Billups got back into the suspect ve

   hicle and Gary drove quickly towards the Inspector in front of the suspect vehicle. The Postal

   Inspector discharged her service weapon, striking the windshield of the suspect vehicle and

   Billups’s shoulder.

          19.     Other law enforcement officers stationed nearby heard the discharging and radio

   traffic and pursed the vehicle. The vehicle fled from law enforcement from Newport News to York

   County and then to Gloucester County, reaching speeds approaching at least 100 miles per hour




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   according to members of the law enforcement team involved in following the vehicle. Thereafter,

   Gloucester County law enforcement deployed '‘stop sticks,” a device to disable a vehicle. After

   the vehicle was disabled, Gary was taken into custody immediately. Billups fled into a nearby

   wooded area but eventually surrendered after disposing of his handgun.

           20.    Immediately after Gary and Billups’s December 4 flight. West responded to the

   crash scene in Gloucester, where Riddick was again overheard via phone expressing frustration

   with Billups for not following their plan, in this case, waiting until Riddick had returned from

   Puerto Rico (where he was held up due to weather), so that they could have broken into the boxes

   together.

           21.    The Cruze was lawfully searched pursuant to a valid federal warrant, and agents

   recovered:


                  a.
                         the arrow key stolen July 6, 2023;

                  b.     Gary’s and Billups’s smartphones, later searched pursuant to valid federal

   warrants;


                  c.     an AK-47-styIe rifle, specifically a Centur>' Arms VSKA 7.62 rifle bearing

   serial number SV7063210, black with a tan magazine, loaded with thirty rounds of ammunition,

   including one in the chamber, and with smudges of what appeared to be blood on it;

                 d.      additional firearm-related items, including (from the trunk) an additional

   (black) magazine, a box of CCI standard velocity .22 long rifle ammunition, an additional loose

   round of ammunition, and a cloth holster; and (from the center console) an additional (tan) maga¬

   zine loaded with 16 rounds of ammunition;

                 e.      a driver’s license and debit/bank cards in the names of several different in-


   dividuals, including an NFCU debit card in the name D.F.;




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                  f.      multiple checks in the names of different individuals, including a Weils

   Fargo check bearing the name [M.D.] made payable to Hampton Blvd, LLC in the amount of $500

   that had been stolen from the mail, as M.D. had issued the check to pay his rent and had deposited

   it in the blue collection box at the Hidenwood Post Office on or about October 25, 2023, later


   learning that his apartment management company never received the check, causing him to have

   to re-issue a new check to the company; and

                  g-      a USPS parcel bearing the tracking number ending -2482. also stolen from

   the mail, originally destined for [T.Y.] at [     ] Stoneham Circle, Loveland, Colorado, 80535

   with a return address of [L.D.] [**] on Ringo Drive in Newport News, which L.D. placed in the

   blue collection box at the Hidenwood Post Office on or about December 2, 2023, and was part of


   her business selling handwritten holiday cards on eBay.

                                           The Fraud Scheme


          22.     As noted, a goal of the arrow key theft was to use the key to steal mail to use in and

   further the conspiracy of Riddick, Billups, and West to defraud banks and credit unions, such as

   Navy Federal Credit Union (NFCU) and Wells Fargo, by means of materially false and fraudulent

   pretenses, representations, and promises in violation of 18 U.S.C. §§ 1344 and 1349.

          23.     Billups, Riddick, and other co-conspirators and associates frequently advertised on

   social media to locate and elicit third-party account holders willing to participate in their bank

   fraud scheme. While Billups took the prirnart role in committing the robbery, Riddick was simi-

   larly critical with respect to IlKeiT engaging in just such lucrative bank and wire fraud schemes

   known as “card cracking,” “check washing,” or “smacking the account.” Those methods involve

   depositing a counterfeit, whether altered or entirely fabricated, check into a third-party account.




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   then trying to withdraw or spend down as much of that money as possible before the fraudulent

   check is detected and the account frozen or transaction reversed.

           24.     The third-party account is either one fraudulently established using the means of

    identification of an identity theft victim - including from sensitive personally identifiable infor¬

   mation gleaned from stolen mail - or is of an individual who willingly joins the conspiracy, usually

    in exchange for a portion of the ill-gotten proceeds.

           25.     Moreover, a mutual friend of the co-defendants had a relative who was employed

   by the USPS, and Riddick would frequently pressure her to attempt to get an arrow key illicitly.

           26.     Riddick likewise attempted to get associates to let him use their paychecks for

   “drops,” in exchange for which he said he would offer hundreds of dollars in compensation.

           27.     Billups, Riddick, and West worked together in connection with the bank fraud

   scheme. As part of that scheme, Billups and Riddick would steal mail using the purloined arrow

   key. Riddick sent West pictures of checks from the mail, which she digitally “washed” using an

   application on her phone. She then sent the checks back to Riddick, who used them to produce

   counterfeit checks.


           28.     In addition to the activity conducted digitally, Billups and Riddick had supplies like

   stacks of blank checks and a printer, which they operated in West’s room in Jefferson Point.

           29.     One example of the fraud related to the items in the names of M.D. and D.F. recov¬

   ered from the Cruze. Specifically, on or about November 2, 2023, at a Denbigh ATM, NFCU

   surveillance video showed Billups depositing a Wells Fargo check bearing the name [M.D.] in the

   amount of $4,690.00 made payable to [D.F.], who had given control of his bank card to Billups.

   That check was later revealed to be not the original, legitimate check with an altered payee and

   amount but rather a counterfeit check.




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            30.    Numerous banks and credit unions - that is, financial institutions as defined by 18

    U.S.C. § 20 because they are insured depository institutions as defined in section 3(c)(2) of the

    Federal Deposit Insurance Act - were involved in the scheme, including NFCU and Wells Fargo.

            31.    During the overall investigation into this conspiracy and the underlying crimes, law

    enforcement validly sought and lawfully received both consent and numerous warrants to search

    devices, premises, persons, electronic accounts, etc., all of which were executed lawfully.

            32.    This statement of facts includes those facts necessary to support the Plea Agreement

    between the defendant and the United States. It does not include each and every fact known to the


    defendant or to the United States, and it is not intended to be a full enumeration of all of the facts

    surrounding the defendant’s case.

            33.    The actions of the defendant, as recounted above, were in all respects knowing and

    deliberate, and were not committed by mistake, accident, or other innocent reason.

                                                           Jessica D. Aber
                                                           United States Attorney

    Date:                                          By:
                                                           Juliyo. Podlesni
                                                           A^istant U.S. Attorney




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    Defendant’s Signature: After consulting with my attorney and pursuant to the Plea Agreement
    entered into this day between the defendant, Johnny Ray Riddick, Jr., and the United States, I
    hereby stipulate that the above Statement of Facts is true and accurate, and that had the matter
    proceeded to trial, the United States would have proved the same beyond a reasonable doubt.


    Date:
                                                 Johnfiyxay Riddick, Jr.
                                                 Defendant


    Defense Counsel’s Signature: I am counsel for the defendant, Johnny Ray Riddick, Jr., in this case.
    I have carefully reviewed the above Statement of Facts with the defendant. To my knowledge, the
    defendant’s decision to stipulate to these facts is an informed and voluntary one.


    Date:

                                                 Roger Whitus, Esq.
                                                 Counsel for the Defendant




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